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     COUNSEL TO THE REORGANIZED
     DEBTORS

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

                                                          §
     In re:                                               §      Chapter 11
                                                          §
     Senior Care Centers, LLC, et al.,1                   §      Case No. 18-33967 (BJH)
                                                          §
               Reorganized Debtors.                       §      (Jointly Administered)
                                                          §

                        REORGANIZED DEBTORS’ MOTION FOR FINAL
                        DECREE CLOSING CERTAIN CHAPTER 11 CASES

              Senior Care Centers, LLC, and its affiliated debtors (the “Reorganized Debtors,” and,

 prior to the Effective Date, as defined herein, the “Debtors”) hereby file this motion (this

 “Motion”) for entry of a final decree, substantially in the form attached hereto as Exhibit A (the

 “Proposed Final Decree”) closing the chapter 11 cases of those entities listed on Exhibit 1 to the

 Proposed Final Decree (collectively, the “Closing Debtors” or the “Subsidiary Debtors”). In

 support of this Motion, the Reorganized Debtors respectfully represent as follows:



 1
    The Debtors in the Chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, are set forth in the Order (I) Directing Joint Administration of Chapter 11 Cases, and (II) Granting Related
 Relief [Docket No. 569] and may also be found on the Debtors’ claims agent’s website at
 https://omnimgt.com/SeniorCareCenters. The location of the Debtors’ service address is 600 North Pearl Street, Suite
 1050, Dallas, Texas 75201.



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                                        JURISDICTION AND VENUE

           1.       This Court has jurisdiction to consider this Motion under 28 U.S.C. §§ 157 and

 1334. This is a core proceeding under 28 U.S.C. § 157(b). This is a core proceeding within the

 meaning of 28 U.S.C. § 157(b). The Reorganized Debtors consent to entry of a final order under

 Article III of the United States Constitution.

           2.       Venue is proper in this district under 28 U.S.C. §§ 1408 and 1409.

           3.       The statutory predicates for the relief requested herein are: sections 105 and 350(a)

 of title 11 of the United States Code (the “Bankruptcy Code”); Rule 3022 of the Federal Rules of

 Bankruptcy Procedure (the “Bankruptcy Rules”); and Local Rule 3022-1.

                                                  BACKGROUND

           4.       On December 4, 2018 (the “Petition Date”), the Debtors filed voluntary petitions

 commencing cases for relief under chapter 11 of the Bankruptcy Code (the “Chapter 11 Cases”).2

           5.       The factual background regarding the Debtors, including their business operations,

 their capital and debt structures, and the events leading to the filing of the Chapter 11 Cases, is set

 forth in detail in the Declaration of Kevin O'Halloran, Chief Restructuring Officer of Senior Care

 Centers, LLC, in Support of Chapter 11 Petitions and First Day Pleadings [Docket No. 25] (the

 “First Day Declaration”). First Day Declaration and fully incorporated herein by reference.

           6.       On December 14, 2018, the Office of the United States Trustee for the Northern

 District of Texas appointed an official committee of unsecured creditors in these Chapter 11 Cases

 (the “Committee”).

           7.       The Debtors’ claims, noticing, and administrative agent in these Chapter 11 Cases

 is Omni Agent Solutions (“Omni”). See Order Authorizing Employment and Retention of Omni



 2
     Certain additional Reorganized Debtors filed voluntary petitions for relief on January 21, 2019 and May 20, 2019.


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 Management Group, Inc., as Claims, Noticing, and Administrative Agent, Nunc Pro Tunc to the

 Petition Date [Docket No. 102].

          8.       On March 28, 2019, the Court entered the Order Establishing Bar Dates, Approving

 Form and Manner of Notice, and Approving Procedures for Filing Proofs of Claim [Docket No.

 766] (the “Bar Date Order”). Among other things, the Bar Date Order established May 15, 2019

 at 4:00 p.m. (prevailing Central Time) as the general bar date (the “General Bar Date”) and July

 20, 2019 at 4:00 p.m. (prevailing Central Time) as the governmental bar date (the “Governmental

 Bar Date”).

          9.       On October 25, 2019, the Debtors filed the Notice of Filing of Solicitation Version

 of Disclosure Statement for the Third Amended Joint Plan of Reorganization Under Chapter 11 of

 the Bankruptcy Code [Docket No. 2094] (the “Solicitation Notice”). Attached to the Solicitation

 Notice as Exhibit A, was the solicitation version of the Third Amended Joint Plan of

 Reorganization Under Chapter 11 of the Bankruptcy Code (as may be further amended, modified,

 and/or supplemented, the “Plan”). On December 13, 2019, the Court entered the Findings of Fact,

 Conclusions of Law, and Order Confirming Third Amended Joint Plan of Reorganization Under

 Chapter 11 of the Bankruptcy Code [Docket No. 2376] (the “Confirmation Order”).3

          10.      On March 27, 2020 (the “Effective Date”), all conditions to the occurrence of the

 Effective Date set forth in the Plan and Confirmation Order were satisfied or waived in accordance

 therewith, and the Effective Date of the Plan occurred. On March 30, 2020, the Notice of (I) Entry

 of Findings of Fact, Conclusions of Law, and Order Confirming Third Amended Joint Plan of

 Reorganization Under Chapter 11 of the Bankruptcy Code, (II) Occurrence of the Effective Date,




 3
  Capitalized terms used herein but not otherwise defined shall have the meanings ascribed to them in the Confirmation
 Order, Plan, and Disclosure Statement.


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 and (III) Bar Date Notice for Rejection Damages Claims, Administrative Claims and Professional

 Fee Claims [Docket No. 2659] (the “Effective Date Notice”) was filed.

          11.   Pursuant to the Plan and Confirmation Order, the following additional bar dates

 were established: (1) the administrative claims bar date (the “Administrative Claims Bar Date”)

 of April 29, 2020; (2) the rejection damages claims bar date (the “Rejection Damages Claims

 Bar Date”) of April 29, 2020; and (3) the professional fees claims bar date (the “Professional

 Fees Claims Bar Date”, and together with the General Bar Date, the Governmental Bar Date, the

 Administrative Claims Bar Date, and the Rejection Damages Claims Bar Date, the “Bar Dates”).

          12.   The Plan and Confirmation Order provided for the substantive consolidation of the

 Debtors’ estates. See Section VI.A of the Plan and Confirmation Order ¶¶ KK and 26. Moreover,

 Section VI.A of the Plan provides that the Plan served as a motion for a final decree closing the

 Chapter 11 Cases of the Subsidiary Debtors.

                                     RELIEF REQUESTED

          13.   By this Motion, the Reorganized Debtors request, pursuant to Bankruptcy Code

 section 350(a), Bankruptcy Rule 3022, and Local Rule 3022-1, entry of a final decree closing the

 Chapter 11 Cases of the Subsidiary Debtors nunc pro tunc to the Effective Date of March 27, 2020.

          14.   If the Court grants this Motion, the only remaining case will be that of Senior Care

 Centers, LLC (the “Surviving Case”). The Surviving Case will remain open to administer the

 substantially consolidated claims reconciliation process and allow the Unsecured Creditor Trust to

 pursue causes of action.

                              BASIS FOR RELIEF REQUESTED

          15.   Bankruptcy Code section 350(a) provides “[a]fter an estate is fully administered

 and the court has discharged the trustee, the court shall close the case.” Bankruptcy Rule 3022,

 which implements Bankruptcy Code section 350, further provides that “[a]fter an estate is fully

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 administered in a chapter 11 reorganization case, the court, on its own motion or on motion of a

 party in interest, shall enter a final decree closing the case.”

          16.    The term “fully administered” is not defined in either the Bankruptcy Code or the

 Bankruptcy Rules. The Advisory Committee Note to Bankruptcy Rule 3022, however, sets forth

 the following non-exclusive factors to be considered in determining whether a case has been fully

 administered:

                 a.      whether the order confirming the plan has become final;

                 b.      whether deposits required by the plan have been distributed;

                 c.      whether the property proposed by the plan to be transferred has been
                         transferred;

                 d.      whether the debtor or its successor has assumed the business or management
                         of the property dealt with by the plan;

                 e.      whether payments under the plan have commenced;

                 f.      whether all motions, contested matters, and adversary proceedings have
                         been finally resolved.

          17.    “Although courts have generally used the Advisory Notes six factors to determine

 whether a case has been fully administered, these factors are not exhaustive nor must all six factors

 be present to establish that a case should be closed.” In re Valence Technology, Inc., Case No. 12-

 11580-CAG, 2014 WL 5320632, at *3 (Bankr. W.D. Tex. Oct. 17, 2014). See also In re Kliegl

 Bros. Universal Elec. Stage Lighting Co., Inc., 238 B.R. 531, 541 (Bankr. E.D.N.Y 1999)

 (recognizing that bankruptcy courts weigh the factors contained in the Advisory Committee Notes

 when deciding whether to close a case); In re Jay Bee Enters., Inc., 207 B.R. 536, 538 (Bankr.

 E.D. Ky. 1997); Walnut Assocs. v. Saidel, 164 B.R. 487, 493 (E.D. Pa. 1994) (“[A]ll of the factors

 in the Committee Notes need not be present before the Court will enter a final decree.”); Greater

 Jacksonville Trans. Co. v. Willis (In re Greater Jacksonville Transp. Co.), 169 B.R. 221, 224



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 (Bankr. M.D. Fla. 1994) (“Even a cursory reading of [Bankruptcy Rule 3022] leaves no doubt that

 the entry of a final decree is merely a perfunctory, administrative event and nothing- more than a

 ministerial housekeeping act which was never designed to determine with finality the substantive

 rights of parties in interest involved in a Chapter 11 case. This should be evident from the fact that

 the final decree is entered without notice and hearing to anyone and could be entered even on the

 Court's own motion.”). In addition to the factors set forth in the Advisory Committee Notes, courts

 have considered whether the plan of reorganization has been substantially consummated. See, e.g.,

 In re Gates Cmty. Chapel of Rochester, Inc., 212 B.R. 220, 224 (Bankr. W.D.N.Y. 1997)

 (considering substantial consummation as a factor in determining whether to close a case); Walnut

 Assocs., 164 B.R. at 493 (same).

          18.   Here, the Chapter 11 Cases of the Subsidiary Debtors have been fully administered

 within the meaning of Bankruptcy Code section 350, making it appropriate for the Court to enter

 a final decree closing these cases. First, the Confirmation Order was entered on December 13,

 2019 and become final. The Effective Date occurred on March 27, 2020. Second, all motions

 related to the Subsidiary Debtors have been resolved. The only remaining matters will be addressed

 in the Surviving Case pursuant to the terms of the Plan. Third, expenses arising from the

 administration of the Subsidiary Debtors Chapter 11 Cases, including professional fees, U.S.

 Trustee Fees, court fees, and other expenses have been paid or will be paid in the amounts due as

 soon as reasonably practical. Fourth, all transactions contemplated by the Plan closed on the

 Effective Date.

          19.   The Reorganized Debtors assert that nunc pro tunc relief is appropriate as the

 Confirmation Order served as the motion for a final decree and this Motion is simply the ministerial

 task of closing the estates. By its terms, the Plan served as a motion for a final decree for the



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 Subsidiary Debtors. After discussions with the U.S. Trustee, this Motion is filed out of an

 abundance of caution so that the ministerial task of closing the Subsidiary Debtors’ cases is

 achieved.

                                             NOTICE

          20.   Notice of this Motion shall be provided to: (a) the U.S. Trustee the Office of the

 United States Trustee for the Northern District of Texas; (b) the Office of the Attorney General of

 the states in which the Reorganized Debtors operate; (c) counsel to CIBC Bank USA; (d) counsel

 to the Unsecured Creditor Trustee; (e) the Internal Revenue Service; (f) the Department of

 Medicaid, Department of Health, and Division of Health Services Regulation in each state in which

 the Reorganized Debtors operate; and (g) those parties who have requested notice pursuant to

 Bankruptcy Rule 2002.




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          WHEREFORE, the Reorganized Debtors respectfully request that the Court enter an

 order, substantially similar to the form attached as Exhibit A, granting (i) the relief requested herein

 and (ii) such other and further relief as it deems just and proper.

  Dated: February 23, 2021                              Respectfully submitted,
         Dallas, Texas
                                                        POLSINELLI PC

                                                        /s/     Liz Boydston
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                                                        -and-

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                                    EXHIBIT A

                                   Proposed Order




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                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

                                                            §
      In re:                                                §      Chapter 11
                                                            §
      Senior Care Centers, LLC, et al.,1                    §      Case No. 18-33967 (BJH)
                                                            §
                Reorganized Debtors.                        §      (Jointly Administered)
                                                            §

                             FINAL DECREE CLOSING CHAPTER 11 CASES

               Upon the motion (the “Motion”)2 of the Reorganized Debtors for entry of an order closing

  the bankruptcy cases of those entities listed on Exhibit 1 (collectively, the “Closing Debtors” or

  the “Subsidiary Debtors”); and the Court being satisfied that the Debtors’ estates has been fully

  administered within the meaning of Bankruptcy Code section 350; and the Court having reviewed

  the Motion; and the Court having jurisdiction over this matter pursuant to 28 U.S.C. 157 and §§


  1
     The Debtors in the Chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
  number, are set forth in the Order (I) Directing Joint Administration of Chapter 11 Cases, and (II) Granting Related
  Relief [Docket No. 569] and may also be found on the Debtors’ claims agent’s website at
  https://omnimgt.com/SeniorCareCenters. The location of the Debtors’ service address is 600 North Pearl Street, Suite
  1050, Dallas, Texas 75201.
  2
      Capitalized Terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.



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  1334(b); and the Court having found that this matter is a core proceeding pursuant to 28 U.S.C. §

  157(b)(2), and that the Debtors consent to entry of a final order under Article III of the United

  States Constitution; and the Court having found that venue of this proceeding and the Motion in

  this District is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having determined

  that the relief requested in the Motion is in the best interests of the Debtors, their estates, their

  creditors, and other parties in interest; and it appearing that proper and adequate notice of the

  Motion has been given, under the circumstances, and that no other or further notice is necessary;

  and upon the record herein; and after due deliberation thereon; and good and sufficient cause

  appearing therefore,

           IT IS ORDERED, ADJUDGED AND DECREED THAT:

           1.       The Motion is GRANTED as set forth herein.

           2.       The Chapter 11 Cases of the Debtors listed on Exhibit 1 shall be closed, effective

  as of March 27, 2020, as provided for in Bankruptcy Rule 3022.

           3.       This Court retains jurisdiction with respect to all matters arising from or related to

  the implementation of this order, or as further described in the Plan.

           4.       Notwithstanding the possible application of Bankruptcy Rules 6004(g), 7062, 9014,

  or otherwise, the terms and conditions of this order shall be immediately effective and enforceable

  upon its entry.

           5.       This Court shall retain jurisdiction over any and all matters arising from the

  interpretation, implementation, or enforcement of this Order.

                                         # # # End of Order # # #




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  Order submitted by:

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                                      Exhibit 1




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   Debtor Name                          Case No.
   Alief SCC LLC                        18-33987
   Bandera SCC LLC                      18-33989
   Baytown SCC LLC                      18-33992
   Beltline SCC LLC                     18-33996
   Booker SCC LLC                       18-33999
   Bossier SCC LLC                      18-34003
   Bradford SCC LLC                     18-34004
   Brinker SCC LLC                      18-34005
   Brownwood SCC LLC                    18-33968
   Capitol SCC LLC                      18-34006
   CapWest-Texas LLC                    18-34008
   Cedar Bayou SCC LLC                  18-34010
   Clear Brook SCC LLC                  18-34012
   Colonial SCC LLC                     18-34014
   Community SCC LLC                    18-33969
   Corpus Christi SCC LLC               18-34016
   Crestwood SCC LLC                    18-34017
   Crowley SCC LLC                      18-33970
   CTLTC Real Estate, LLC               18-34018
   Fairpark SCC LLC                     18-34020
   Gamble Hospice Care Central, LLC     18-34022
   Gamble Hospice Care Northeast, LLC   18-34025
   Gamble Hospice Care Northwest, LLC   18-34027
   Gamble Hospice Care of Cenla, LLC    18-34029
   Green Oaks SCC LLC                   18-33971
   Harbor Lakes SCC LLC                 18-33972
   Harden HUD Holdco LLC                18-34032
   Harden Non-HUD Holdco LLC            18-34035
   Harden Pharmacy LLC                  18-34036
   Hearthstone SCC LLC                  18-34037
   Hewitt SCC LLC                       18-33973
   HG SCC LLC                           18-34040
   HHC Portland AL, LP                  19-31719
   Hill Country SCC LLC                 18-34043
   Holland SCC LLC                      18-33974
   Hunters Pond SCC LLC                 18-34045
   Jacksonville SCC LLC                 18-34046
   La Hacienda SCC LLC                  18-34049
   Lakepointe SCC LLC                   18-34050
   Major Timbers LLC                    18-34052
   Marlandwood East SCC LLC             18-34054
   Marlandwood West SCC LLC             18-34058
   Meadow Creek SCC LLC                 18-34064
   Midland SCC LLC                      18-34065
   Mill Forest Road SCC LLC             18-34066
   Mission SCC LLC                      18-33975
   Mullican SCC LLC                     18-34067


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   Mystic Park SCC LLC                          18-34068
   Normandie SCC LLC                            18-34069
   Onion Creek SCC LLC                          18-34070
   Park Bend SCC LLC                            18-34071
   Pasadena SCC LLC                             18-34072
   Pecan Tree SCC LLC                           18-34073
   Pecan Valley SCC LLC                         18-34074
   Pleasantmanor SCC LLC                        18-34075
   PM Management - Allen NC LLC                 18-34076
   PM Management - Babcock NC LLC               18-34077
   PM Management - Cedar Park NC LLC            18-34078
   PM Management - Corpus Christi NC II LLC     18-34079
   PM Management - Corpus Christi NC III LLC    18-34080
   PM Management - Corsicana NC II LLC          18-34081
   PM Management - Corsicana NC III LLC         18-34082
   PM Management - Corsicana NC LLC             18-34083
   PM Management - Denison NC LLC               18-34084
   PM Management - El Paso I NC LLC             18-34085
   PM Management - Fredericksburg NC LLC        18-34086
   PM Management - Frisco NC LLC                18-34087
   PM Management - Garland NC LLC               18-33979
   PM Management - Golden Triangle NC I LLC     18-33980
   PM Management - Golden Triangle NC II LLC    18-33981
   PM Management - Golden Triangle NC III LLC   18-33982
   PM Management - Golden Triangle NC IV LLC    18-33983
   PM Management - Killeen I NC LLC             18-33984
   PM Management - Killeen II NC LLC            18-33985
   PM Management - Killeen III NC LLC           18-33986
   PM Management - Lewisville NC LLC            18-33988
   PM Management - New Braunfels NC LLC         18-33990
   PM Management - Park Valley NC LLC           18-33991
   PM Management - Pflugerville AL LLC          18-33993
   PM Management - Portfolio IX NC LLC          19-30253
   PM Management - Portfolio V NC, LLC          19-30249
   PM Management - Portfolio VI NC LLC          19-30250
   PM Management - Portfolio VII NC LLC         19-30251
   PM Management - Portfolio VIII NC LLC        19-30252
   PM Management - Portland AL LLC              18-33994
   PM Management - Portland NC LLC              18-33995
   PM Management - Round Rock AL LLC            18-33997
   PM Management - San Antonio AL LLC           19-30254
   PM Management - San Antonio NC LLC           18-33998
   Presidential SCC LLC                         18-34000
   Redoak SCC LLC                               18-33976
   Riverside SCC LLC                            18-34001
   Round Rock SCC LLC                           18-34002
   Rowlett SCC LLC                              18-34007
   Ruston SCC LLC                               18-34009


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   RW SCC LLC                                   18-34011
   Sagebrook SCC LLC                            18-34013
   San Angelo SCC LLC                           18-34015
   San Antonio SCC, LLC                         19-30261
   SCC Edinburg LLC                             18-34019
   SCC Hospice Holdco LLC                       18-34021
   SCC Senior Care Investments LLC              18-34023
   SCC Socorro LLC                              18-34024
   Senior Care Center Management II LLC         18-34026
   Senior Care Center Management LLC            18-34028
   Senior Care Centers Home Health, LLC         18-34030
   Senior Rehab Solutions LLC                   18-34031
   Senior Rehab Solutions North Louisiana LLC   18-34033
   Shreveport SCC LLC                           18-34034
   Solutions 2 Wellness LLC                     18-34038
   South Oaks SCC LLC                           18-34039
   Springlake ALF SCC LLC                       18-34041
   Springlake SCC LLC                           18-34042
   Stallings Court SCC LLC                      18-33977
   Stonebridge SCC LLC                          18-34044
   Stonegate SCC LLC                            18-33978
   Summer Regency SCC LLC                       18-34047
   TRISUN Healthcare LLC                        18-34048
   Valley Grande SCC LLC                        18-34051
   Vintage SCC LLC                              18-34053
   West Oaks SCC LLC                            18-34055
   Western Hills SCC LLC                        18-34056
   Weston Inn SCC LLC                           18-34057
   Westover Hills SCC LLC                       18-34059
   Whitesboro SCC LLC                           18-34060
   Windcrest SCC LLC                            18-34061
   Windmill SCC LLC                             18-34062
   Wurzbach SCC LLC                             18-34063




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